                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                              Plaintiff,

       v.                                       No. 14-3106-26-CR-S-MDH

JEFFREY M. GARDNER,

                              Defendant.

                                     PLEA AGREEMENT

       Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.      The Parties. The parties to this agreement are the United States Attorney’s

Office for the Western District of Missouri (otherwise referred to as “the Government” or “the

United States”), represented by Tammy Dickinson, United States Attorney, and Nhan D.

Nguyen, Assistant United States Attorney, and the defendant, Jeffrey M. Gardner, (“the

defendant”), represented by Jason Johnson.

       The defendant understands and agrees that this plea agreement is only between him and

the United States Attorney for the Western District of Missouri, and that it does not bind any

other federal, state or local prosecution authority or any other government agency, unless

otherwise specified in this agreement.

       2.      Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty

to Count 1 of the Second Superseding Indictment, charging him with a violation of 21 U.S.C. §

841(a)(1) and (b)(1)(A) and § 846, that is, Conspiracy to Distribute 500 Grams or More of a

Mixture or Substance Containing a Detectable Amount of Methamphetamine. The defendant




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also agrees to forfeit to the United States the property described in Forfeiture Allegation 1 of the

Second Superseding Indictment. By entering into this plea agreement, the defendant admits that

he knowingly committed this offense, and is, in fact, guilty of this offense.

       3.      Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offense to which the defendant is pleading guilty are as follows:

               Concerning Count 1 of the Second Superseding Indictment, between June
       1, 2013, through November 29, 2014, said dates being approximate, in Greene,
       Polk, Christian, Jasper, Laclede, and Webster Counties, in the Western District of
       Missouri and elsewhere, the defendant, Jeffrey M. GARDNER, along with others
       named in the Second Superseding Indictment knowingly and intentionally
       conspired and agreed with each other to distribute 500 grams or more of a mixture
       or substance containing a detectable amount of methamphetamine, a Schedule II
       controlled substance, in violation of Title 21, United States Code, Sections 846
       and 841 (a)(1) and (b)(1)(A).

                Beginning in 2012, the United States Drug Enforcement Administration
       (hereinafter DEA), assisted by the United States Internal Revenue Service
       (hereinafter IRS), the Missouri State Highway Patrol (hereinafter MSHP), the
       Springfield, Missouri, Police Department (hereinafter SPD), and the other
       affiliated law enforcement agencies, investigated a large scale methamphetamine
       distribution network in southwest Missouri involving several sources of supply
       both inside and outside of the State of Missouri. The leaders of this distribution
       network in southwest Missouri were identified as Daniel and Kenna HARMON.
       The HARMON Drug Trafficking Organization (hereinafter HARMON DTO)
       obtains pound amounts of methamphetamine from sources of supply in Kansas
       City, St. Louis, as well as from the State of Oklahoma, for distribution in the
       Springfield, Missouri, area.

               In December of 2013, Daniel HARMON, was traffic stopped by law
       enforcement outside of St. Louis, Missouri. During a search of his vehicle,
       officers discovered approximately 4 pounds of methamphetamine, $60,000 in
       U.S. currency, and a handgun. Daniel HARMON was indicted in the United
       States District Court for the Eastern District of Missouri on April 9, 2014, with
       one count of possession of methamphetamine with intent to distribute, one count
       of being a felon in possession of a firearm, and a forfeiture allegation. Daniel
       HARMON was arrested and detained. On September 5, 2014, Daniel HARMON
       pleaded guilty to both counts and the forfeiture allegation.

              After Daniel HARMON’s detention and incarceration, Kenna HARMON
       continued to lead the HARMON DTO in its distribution of methamphetamine.

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Kenna HARMON directed the HARMON DTO to purchase large amounts of
methamphetamine from various sources of supply, which included co-defendants
Anthony J. VAN PELT and Kenneth FRIEND. Additionally, Kenna HARMON
obtained methamphetamine from others sources of supply and she would provide
distributive amounts to VAN PELT and FRIEND as needed. Kenna HARMON
distributed the methamphetamine that she obtained to others, including the
defendant GARDNER, who, in turn, sold it to others. In total, the HARMON
DTO was responsible for the distribution of over 45 kilograms of
methamphetamine from June 1, 2013, through November 29, 2014, and
GARDNER was aware, or had reason to be aware, of this amount being
distributed by the HARMON DTO.

        On December 12, 2013, SPD executed a state search warrant at a
residence in Springfield, Missouri. Inside the residence were GARDNER and
Brandon HOUSE.          A search of the residence revealed a baggie of
methamphetamine and $4,000 in U.S. currency, which was seized by SPD
officers. GARDNER admits that he has no interest in the money and agrees to its
forfeiture as money derived from the HARMON DTO.

        On December 20, 2013, DEA agents arranged for an undercover drug
transaction involving GARDNER. A DEA Confidential Source (CS) purchased
approximately 44 grams of methamphetamine from GARDNER at a parking lot
located at 3135 N. Glenstone, Springfield, Missouri. DEA agents provided the
CS $1,100 for the purchase of the methamphetamine and $500 for a previous debt
that the CS owed GARDNER. GARDNER admits that some, if not all, of this
methamphetamine came from the HARMON DTO.

        On January 9, 2014, DEA agents arranged for another undercover drug
transaction involving GARDNER. The CS purchased approximately 57 grams of
methamphetamine from GARDNER at a residence in Springfield, Missouri. DEA
agents provided the CS $2,350 for the purchase of the methamphetamine.
GARDNER admits that some, if not all, of this methamphetamine came from the
HARMON DTO.

       During the investigation, DEA and IRS agents obtained authority from the
United States District Court to conduct T-III wire intercepts on several of Kenna
HARMON’s telephones, as well as the telephone of co-defendant FRIEND.
During the T-III wiretaps on HARMON’s telephones, GARDNER contacted
HARMON on numerous occasions to arrange for the purchase of controlled
substances. On October 11, 2014, at 4:45 p.m., HARMON was contacted by
GARDNER. The communication was summarized by agents as follows:
HARMON talked with GARDNER. GARDNER said that FRIEND told him that
HARMON would be available to meet in an hour or so. HARMON stated she
would be available to meet depending on how her hair appointment goes.
HARMON stated she will be able to “grab it and take care of ya.”

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              On October 15, 2014, at 3:34 p.m., HARMON received a telephone call
       from GARDNER. The communication was summarized by agents as follows:
       GARDNER called to ask if HARMON had a chance to look at the “200 dollar
       grocery list” that he had texted to her. HARMON stated that she did not have
       time for that right now. GARDNER stated that was okay. HARMON then asked
       if GARDNER wanted to meet somewhere to “grocery shop.” GARDNER asked
       if HARMON could meet with his “girl” “because she is going to go use it to go
       get ours when she gets home from work.” HARMON asked if GARDNER had
       anything on him, and GARDNER stated that “she” had a “nice chunk.”
       HARMON stated she needed to see if she had time to see GARDNER.
       HARMON then told GARDNER about her upcoming trip to Hawaii.

                Also on October 15, 2014, at 8:44 p.m., HARMON received a telephone
       call from GARDNER. The communication was summarized by agents as
       follows: GARDNER asked HARMON if she received the messages from his
       “girlfriend” about the “grocery lists.” HARMON said she didn’t have a grocery
       list yet. HARMON reminded GARDNER that she was going to Hawaii on
       Friday.

              On October 17, 2014, at 5:09 p.m., HARMON received an incoming call
       from GARDNER. The communication, as summarized by agents, states as
       follows: GARDNER asked to meet with HARMON tonight. HARMON told
       GARDNER to stay away from the “Travis” house. GARDNER stated that he will
       meet HARMON anywhere. HARMON stated she will call later.

               During the same period of time there was a wiretap on HARMON’s
       telephone, there was also a wiretap on the telephone of FRIEND. On November
       11, 2014, at 10:41 p.m., FRIEND contacted GARDNER by telephone and asked
       GARDNER if he was at home. FRIEND told GARDNER that he was getting
       ready to head down to the “ol girls house.” FRIEND and GARDNER agreed to
       meet at the Wal-Mart located at 3520 W. Sunshine, Springfield, Missouri.
       Surveillance was conducted on the Wal-Mart parking lot. Later that evening, at
       the parking lot, DEA agents observed FRIEND meeting with GARDNER.

       4.      Use of Factual Admissions and Relevant Conduct.                    The defendant

acknowledges, understands and agrees that the admissions contained in paragraph 3 and other

portions of this plea agreement will be used for the purpose of determining his guilt and advisory

sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”), including the

calculation of the defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The


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defendant acknowledges, understands and agrees that the conduct charged in any dismissed

counts of the indictment, as well as all other uncharged, related criminal activity, may be

considered as “relevant conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense

level for the charge to which he is pleading guilty.

       5.        Statutory Penalties. The defendant understands that, upon his plea of guilty to

Count 1 of the Second Superseding Indictment, charging him with Conspiracy to Distribute 500

Grams or More of a Mixture or Substance Containing a Detectable Amount of

Methamphetamine, the minimum penalty by statute the Court may impose is not less than 10

years’ imprisonment, while the maximum penalty the Court may impose is not more than life

imprisonment, not less than 5 years’ supervised release, a $10,000,000 fine, and a $100

mandatory special assessment per felony count of conviction, which must be paid in full at the

time of sentencing. The defendant further understands that this offense is a Class A felony.

       6.        Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

               a.     in determining the appropriate sentence, the Court will consult and
       consider the United States Sentencing Guidelines promulgated by the United
       States Sentencing Commission; these Guidelines, however, are advisory in nature,
       and the Court may impose a sentence either less than or greater than the
       defendant’s applicable Guidelines range, unless the sentence imposed is
       “unreasonable”;

              b.     the Court will determine the defendant’s applicable Sentencing
       Guidelines range at the time of sentencing;

              c.      in addition to a sentence of imprisonment, the Court may impose a
       term of supervised release of at least 5 years;

              d.      the Court may impose any sentence authorized by law, including a
       sentence that is outside of, or departs from, the applicable Sentencing Guidelines
       range;


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        e.     any sentence of imprisonment imposed by the Court will not allow
for parole;

       f.     the Court is not bound by any recommendation regarding the
sentence to be imposed or by any calculation or estimation of the Sentencing
Guidelines range offered by the parties or the United States Probation Office; and

        g.      the defendant may not withdraw his guilty plea solely because of
the nature or length of the sentence imposed by the Court.

        h.     The defendant agrees that the United States may institute civil,
judicial or administrative forfeiture proceedings against all forfeitable assets in
which the defendant has an interest, and that she will not contest any such
forfeiture proceedings;

        i.      The defendant agrees to forfeit all interests he owns or over which
he exercises control, directly or indirectly, in any asset that is subject to forfeiture
to the United States, either directly or as a substitute for property that was subject
to forfeiture but is no longer available for the reasons set forth in 21 U.S.C. §
853(p), including but not limited to the following specific property:
approximately $4,000 in United States currency, seized on or about December 12,
2013. With respect to any asset which the defendant has agreed to forfeit, the
defendant waives any constitutional and statutory challenges in any manner
(including direct appeal, habeas corpus, or any other means) to any forfeiture
carried out in accordance with this plea agreement on any grounds, including that
the forfeiture constitutes an excessive fine or punishment under the Eighth
Amendment to the United States Constitution;

        j.      The defendant agrees to fully and truthfully disclose the existence,
nature and location of all assets forfeitable to the United States, either directly or
as a substitute asset, in which she, her co-defendants and her co-conspirators have
or had any direct or indirect financial interest, or exercise or exercised control,
directly or indirectly, during the period from June 1, 2013, to the present. The
defendant also agrees to fully and completely assist the United States in the
recovery and forfeiture of all such forfeitable assets;

        k.      The defendant agrees not to contest the transfer of the property
listed in paragraph i, above, from any state or local agency to the United States,
and to take whatever steps are necessary to facilitate that transfer. The defendant
specifically agrees and authorizes any state or local law enforcement agency
having possession of property subject to federal forfeiture to release the property
to a federal agency, either prior to or after entry of an order forfeiting the
defendant’s interest in such property. Further, the defendant agrees to hold
harmless any state or local law enforcement agency which releases such property
to any federal agency for federal forfeiture proceedings;

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               l.     The defendant agrees to take all necessary steps to comply with the
       forfeiture matters set forth herein before her sentencing;

               m.      The defendant states that he agrees to the forfeiture of any
       possessory interest that he may have in the property listed in paragraph i, above.
       In the event any federal, state or local law enforcement agency having custody of
       the property decides not to pursue forfeiture of the property due to its minimal
       value, the defendant hereby abandons any interest she has in such property and
       consents to the destruction or any other disposition of the property by the federal,
       state or local agency without further notice or obligation whatsoever owing to the
       defendant;

              n.       Within ten (10) days of the execution of this plea agreement, at the
       request of the USAO, the defendant agrees to execute and submit: (1) a Tax
       Information Authorization form; (2) an Authorization to Release Information; (3)
       a completed financial disclosure statement; and (4) copies of financial information
       that the defendant submits to the U.S. Probation Office. The defendant
       understands that the United States will use the financial information when making
       its recommendation to the Court regarding the defendant’s acceptance of
       responsibility; and

               o.      At the request of the USAO, the defendant agrees to undergo any
       polygraph examination the United States might choose to administer concerning
       the identification and recovery of forfeitable assets and restitution.

       7.     Government’s Agreements. Based upon evidence in its possession at this time,

the United States Attorney’s Office for the Western District of Missouri, as part of this plea

agreement, agrees not to bring any additional charges against the defendant for any federal

criminal offenses related to Count 1 of the Second Superseding Indictment for which it has

venue and which arose out of the defendant’s conduct described above. Additionally, the United

States Attorney for the Western District of Missouri agrees to dismiss Counts 5 and 6 of the

Second Superseding Indictment at sentencing.

        The defendant understands that this plea agreement does not foreclose any prosecution

for an act of murder or attempted murder, an act or attempted act of physical or sexual violence

against the person of another, or a conspiracy to commit any such acts of violence or any

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criminal activity of which the United States Attorney for the Western District of Missouri has no

knowledge.

       The defendant recognizes that the United States’ agreement to forego prosecution of all

of the criminal offenses with which the defendant might be charged is based solely on the

promises made by the defendant in this agreement.          If the defendant breaches this plea

agreement, the United States retains the right to proceed with the original charges and any other

criminal violations established by the evidence. The defendant expressly waives his right to

challenge the initiation of the dismissed or additional charges against him if he breaches this

agreement. The defendant expressly waives his right to assert a statute of limitations defense if

the dismissed or additional charges are initiated against him following a breach of this

agreement. The defendant further understands and agrees that, if the Government elects to file

additional charges against him following his breach of this plea agreement, he will not be

allowed to withdraw his guilty plea.

       8.      Preparation of Presentence Report. The defendant understands the United

States will provide to the Court and the United States Probation Office a government version of

the offense conduct. This may include information concerning the background, character and

conduct of the defendant, including the entirety of his criminal activities.      The defendant

understands these disclosures are not limited to the count to which he has pleaded guilty. The

United States may respond to comments made or positions taken by the defendant or the

defendant’s counsel, and to correct any misstatements or inaccuracies. The United States further

reserves its right to make any recommendations it deems appropriate regarding the disposition of

this case, subject only to any limitations set forth in this plea agreement. The United States and



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the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant

to Rule 32(i)(4) of the Federal Rules of Criminal Procedure.

       9.      Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and

its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored

to their pre-plea agreement positions to the fullest extent possible. However, after the plea has

been formally accepted by the Court, the defendant may withdraw his plea of guilty only if the

Court rejects the plea agreement, or if the defendant can show a fair and just reason for

requesting the withdrawal. The defendant understands that, if the Court accepts his plea of guilty

and this plea agreement but subsequently imposes a sentence that is outside the defendant’s

applicable Sentencing Guidelines range, or imposes a sentence that the defendant does not

expect, like or agree with, he will not be permitted to withdraw his plea of guilty.

       10.     Agreed Guidelines Applications.          With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

              a.     The Sentencing Guidelines do not bind the Court and are advisory
       in nature. The Court may impose a sentence that is either above or below the
       defendant’s applicable Guidelines range, provided the sentence imposed is not
       “unreasonable”;

              b.    The applicable Guidelines section for the offense of conviction is
       U.S.S.G. § 2D1.1;

              c.       There are no agreements between the parties regarding the
       applicability of Sentencing Guideline enhancements in this case;

               d.      The defendant has admitted his guilt and clearly accepted
       responsibility for his actions, and has assisted authorities in the investigation or
       prosecution of his own misconduct by timely notifying authorities of his intention
       to enter a plea of guilty, thereby permitting the Government to avoid preparing for
       trial and permitting the Government and the Court to allocate their resources
       efficiently. Therefore, he is entitled to a 3-level reduction pursuant to § 3E1.1(b)

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of the Sentencing Guidelines. The Government, at the time of sentencing, will
file a written motion with the Court to that effect, unless the defendant: (1) fails to
abide by all of the terms and conditions of this plea agreement and his pretrial
release; or (2) attempts to withdraw his guilty plea, violates the law, or otherwise
engages in conduct inconsistent with his acceptance of responsibility;

        e.      There is no agreement between the parties regarding the
defendant’s criminal history category. The parties agree that the Court will
determine her applicable criminal history category after receipt of the presentence
investigation report prepared by the United States Probation Office;

        f.      The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this
paragraph does not bind the Court or the United States Probation Office with
respect to the appropriate Guidelines levels. Additionally, the failure of the Court
to accept these stipulations will not, as outlined in paragraph 9 of this plea
agreement, provide the defendant with a basis to withdraw his plea of guilty;

       g.     The defendant understands that the Court may impose any
sentence authorized by law, including any sentence outside the applicable
Guidelines range that is not “unreasonable.” However, while the United States
does not agree that a sentence outside the Guidelines range is appropriate, the
defendant may argue for a sentence outside the Guidelines range. The agreement
by the Government not to seek a departure from the Guidelines is not binding
upon the Court or the United States Probation Office, and the Court may impose
any sentence authorized by law, including any sentence outside the applicable
Guidelines range that is not “unreasonable;”

        h.     The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the
normal statutory maximum. The defendant waives any right to a jury
determination beyond a reasonable doubt of all facts used to determine and
enhance the sentence imposed, and waives any right to have those facts alleged in
the indictment. The defendant also agrees that the Court, in finding the facts
relevant to the imposition of sentence, may consider any reliable information,
including hearsay; and

       i.      The defendant understands and agrees that the factual admissions
contained in paragraph 3 of this plea agreement, and any admissions that he will
make during his plea colloquy, support the imposition of the agreed upon
Guidelines calculations contained in this agreement.


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       11.     Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed in paragraph 10 and its

subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

       12.     Change in Guidelines Prior to Sentencing. The defendant agrees that, if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then

any request by the defendant to be sentenced pursuant to the new Guidelines will make this plea

agreement voidable by the United States at its option. If the Government exercises its option to

void the plea agreement, the United States may charge, reinstate, or otherwise pursue any and all

criminal charges that could have been brought but for this plea agreement.

       13.     Government’s Reservation of Rights.            The defendant understands that the

United States expressly reserves the right in this case to:

               a.     oppose or take issue with any position advanced by the defendant
       at the sentencing hearing which might be inconsistent with the provisions of this
       plea agreement;

               b.      comment on the evidence supporting the charge in the indictment;

              c.      oppose any arguments and requests for relief the defendant might
       advance on an appeal from the sentence imposed, and that the United States
       remains free on appeal or collateral proceedings to defend the legality and
       propriety of the sentence actually imposed, even if the Court chooses not to
       follow any recommendation made by the United States; and

               d.      oppose any post-conviction motions for reduction of sentence, or
       other relief.




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        14.     Waiver of Constitutional Rights.               The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives

the following rights:

                a.      the right to plead not guilty and to persist in a plea of not guilty;

                b.     the right to be presumed innocent until his guilt has been
        established beyond a reasonable doubt at trial;

                c.     the right to a jury trial, and at that trial, the right to the effective
        assistance of counsel;

                d.      the right to confront and cross-examine the witnesses who testify
        against him;

                e.      the right to compel or subpoena witnesses to appear on his behalf;
        and

               f.      the right to remain silent at trial, in which case his silence may not
        be used against him.

        The defendant understands that, by pleading guilty, he waives or gives up those rights

and that there will be no trial. The defendant further understands that, if he pleads guilty, the

Court may ask him questions about the offense to which he pleaded guilty, and if the defendant

answers those questions under oath and in the presence of counsel, his answers may later be used

against him in a prosecution for perjury or making a false statement. The defendant also

understands that he has pleaded guilty to a felony offense and, as a result, will lose his right to

possess a firearm or ammunition and might be deprived of other rights, such as the right to vote

or register to vote, hold public office, or serve on a jury.

       15.      Waiver of Appellate and Post-Conviction Rights.

                a.      The defendant acknowledges, understands and agrees that, by
        pleading guilty pursuant to this plea agreement, he waives his right to appeal or
        collaterally attack a finding of guilt following the acceptance of this plea


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       agreement, except on grounds of (1) ineffective assistance of counsel; or (2)
       prosecutorial misconduct; and

               b.      The defendant expressly waives his right to appeal his sentence,
       directly or collaterally, on any ground except claims of: (1) ineffective assistance
       of counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
       sentence” includes a sentence imposed in excess of the statutory maximum, but
       does not include less serious sentencing errors, such as a misapplication of the
       Sentencing Guidelines, an abuse of discretion, or the imposition of an
       unreasonable sentence. However, if the United States exercises its right to appeal
       the sentence imposed as authorized by 18 U.S.C. § 3742(b), the defendant is
       released from this waiver and may, as part of the Government’s appeal, cross-
       appeal his sentence as authorized by 18 U.S.C. § 3742(a) with respect to any
       issues that have not been stipulated to or agreed upon in this agreement.

       16.     Financial Obligations.     By entering into this plea agreement, the defendant

represents that he understands and agrees to the following financial obligations:

               a.      The Court may order restitution to the victims of the offense to
       which the defendant is pleading guilty. The defendant agrees that the Court may
       order restitution in connection with the conduct charged in any counts of the
       indictment which are to be dismissed and all other uncharged, related criminal
       activity;

              b.     The United States may use the Federal Debt Collection Procedures
       Act and any other remedies provided by law to enforce any restitution order that
       may be entered as part of the sentence in this case and to collect any fine;

               c.      The defendant will fully and truthfully disclose all assets and
       property in which he has any interest, or over which the defendant exercises
       control, directly or indirectly, including assets and property held by a spouse,
       nominee or other third party. The defendant’s disclosure obligations are ongoing,
       and are in force from the execution of this agreement until the defendant has
       satisfied the restitution order in full;

               d.      The defendant understands that a Special Assessment will be
       imposed as part of the sentence in this case. The defendant promises to pay the
       Special Assessment of $100 by submitting a satisfactory form of payment to the
       Clerk of the Court prior to appearing for the sentencing proceeding in this case.
       The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
       of this obligation at the time of sentencing;

              e.     The defendant certifies that he has made no transfer of assets or
       property for the purpose of: (1) evading financial obligations created by this

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       Agreement; (2) evading obligations that may be imposed by the Court; or (3)
       hindering efforts of the USAO to enforce such financial obligations. Moreover,
       the defendant promises that he will make no such transfers in the future; and

               f.      In the event the United States learns of any misrepresentation in
       the financial disclosure statement, or of any asset in which the defendant had an
       interest at the time of this plea agreement that is not disclosed in the financial
       disclosure statement, and in the event such misrepresentation or nondisclosure
       changes the estimated net worth of the defendant by ten thousand dollars
       ($10,000.00) or more, the United States may at its option: (1) choose to be
       relieved of its obligations under this plea agreement; or (2) let the plea agreement
       stand, collect the full forfeiture, restitution and fines imposed by any criminal or
       civil judgment, and also collect 100% (one hundred percent) of the value of any
       previously undisclosed assets. The defendant agrees not to contest any collection
       of such assets. In the event the United States opts to be relieved of its obligations
       under this plea agreement, the defendant’s previously entered plea of guilty shall
       remain in effect and cannot be withdrawn.

       17.     Waiver of FOIA Request. The defendant waives all of his rights, whether

asserted directly or by a representative, to request or receive from any department or agency of

the United States any records pertaining to the investigation or prosecution of this case including,

without limitation, any records that may be sought under the Freedom of Information Act, 5

U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

       18.     Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation

expenses arising out of the investigation or prosecution of this matter.

       19.     Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the

signing of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if

the defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete or untruthful, or otherwise breaches this plea agreement, the United

States will be released from its obligations under this agreement. The defendant, however, will

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remain bound by the terms of the agreement, and will not be allowed to withdraw his plea of

guilty.

          The defendant also understands and agrees that, in the event he violates this plea

agreement, all statements made by him to law enforcement agents subsequent to the execution of

this plea agreement, any testimony given by him before a grand jury or any tribunal, or any leads

from such statements or testimony, shall be admissible against him in any and all criminal

proceedings. The defendant waives any rights that he might assert under the United States

Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the

Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any

statements made by him subsequent to this plea agreement.

          20.   Defendant’s Representations. The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and

approval of counsel. The defendant acknowledges that he is satisfied with the assistance of

counsel, and that counsel has fully advised him of his rights and obligations in connection with

this plea agreement. The defendant further acknowledges that no threats or promises, other than

the promises contained in this plea agreement, have been made by the United States, the Court,

his attorneys, or any other party to induce him to enter his plea of guilty.

          21.   No Undisclosed Terms. The United States and the defendant acknowledge and

agree that the above stated terms and conditions, together with any written supplemental

agreement that might be presented to the Court in camera, constitute the entire plea agreement

between the parties, and that any other terms and conditions not expressly set forth in this

agreement or any written supplemental agreement do not constitute any part of the parties’

agreement and will not be enforceable against either party.

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       22.     Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be

interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

                                             Tammy Dickinson
                                             United States Attorney
                                     By
                                             /s/ Nhan D. Nguyen
Dated: 04/18/2016                            NHAN D. NGUYEN
                                             Assistant United States Attorney
                                             Missouri Bar No. 56877

        I have consulted with my attorney and fully understand all of my rights with respect to
the offense charged in the Second Superseding Indictment. Further, I have consulted with my
attorney and fully understand my rights with respect to the provisions of the Sentencing
Guidelines. I have read this plea agreement and carefully reviewed every part of it with my
attorney. I understand this plea agreement and I voluntarily agree to it.

Dated: 04/18/2016                            /s/ Jeffrey M. Gardner
                                             JEFFREY M. GARDNER
                                             Defendant

       I am defendant Jeffrey M. Gardner’s attorney. I have fully explained to him his rights
with respect to the offense charged in the Second Superseding Indictment. Further, I have
reviewed with him the provisions of the Sentencing Guidelines which might apply in this case. I
have carefully reviewed every part of this plea agreement with him. To my knowledge, Jeffrey
M. Gardner’s decision to enter into this plea agreement is an informed and voluntary one.

Dated: 04/18/2016                            /s/ Jason Johnson
                                             JASON JOHNSON
                                             Attorney for Defendant




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